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CGFD28 (10/01/16)




ORDERED in the Southern District of Florida on May 10, 2021




                                                                                                  Peter D. Russin
                                                                                                  United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                 Case Number: 19−10561−PDR
                                                                                                                 Chapter: 7



In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Judd L Brazer
aka Judd Lane Brazer
15972 SW 15th Street
Pembroke Pines, FL 33027

SSN: xxx−xx−6736




                                                              FINAL DECREE



The trustee, Leslie S Osborne, having filed a final report that the estate has been fully administered, is
discharged and the case is closed.
